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16
17                      IN THE UNITED STATES DISTRICT COURT
18                            FOR THE DISTRICT OF ARIZONA
19
20 Spectrum Pacific West, LLC,           No. 2:20-CIV-1204-ROS
21
                         Plaintiff,      CHARTER’S
22         v.                            ANSWER TO DEFENDANT-
                                         COUNTERCLAIMANT’S AMENDED
23 City of Yuma, Arizona                 COUNTERCLAIMS
24
                      Defendant.
25
26
27
28

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 1                       ANSWER TO AMENDED COUNTERCLAIMS
 2         Pursuant to Rule 12 of the Federal Rules of Civil Procedure and the Court’s August
 3 8, 2022 Order (Dkt. 92), Charter Spectrum Pacific West, LLC (“Charter”), responds to the
 4 Amended Counterclaims (Dkt. 71) of Defendant-Counterclaimant City of Yuma, Arizona
 5 (the “City”), and responds as follows:
 6                                        INTRODUCTION
 7         1.      The issues in this Amended Counterclaim stem from two separate contractual
 8 agreements between Yuma and Spectrum: (1) the February 1, 2015, CityNet Indefeasible
 9 Right-of-Use Agreement (the “IRU Agreement”); and (2) the February 1, 2015, CityNet
10 Maintenance Agreement (the “IRU Maintenance Agreement”) (collectively the “IRU
11 Agreements”).
12         ANSWER:         Charter admits that Charter and the City are parties to the IRU
13 Agreements. The remaining allegations in Paragraph 1 of the Amended Counterclaims
14 assert legal conclusions to which no response is required. To the extent a response is deemed
15 required, Charter denies the remaining allegations in Paragraph 1 of the Amended
16 Counterclaims. Except as specifically admitted, Charter denies the allegations in Paragraph
17 1 of the Amended Counterclaims.
18         2.      Indefeasible right of use (“IRU”) agreements, such as the IRU Agreements at
19 issue here, are contractual agreements that cannot be “defeated, revoked, or lost,” between
20 the owners of a cable/fiber system and a user of a part of that system. (Black’s Law
21 Dictionary, 783, 8th Ed. 2004). Essentially, the user purchases the right to use a specific
22 amount of the capacity of the system or separate strands of fiber, in this case, the City Fibers,
23 for a specified number of years (twenty years for the City Fibers).
24         ANSWER: The allegations in Paragraph 2 of the Amended Counterclaims assert
25 legal conclusions to which no response is required. To the extent a response is deemed
26 required, Charter denies the allegations in Paragraph 2 of the Amended Counterclaims.
27 Charter further states the IRU Agreements are documents that speak for themselves.
28         3.      This City’s interest in the City Fibers is a property interest.

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 1          ANSWER: The allegations in Paragraph 3 of the Amended Counterclaims assert
 2 legal conclusions to which no response is required. To the extent a response is deemed
 3 required, Charter denies the allegations in Paragraph 3 of the Amended Counterclaims.
 4          4.     The City’s property interest in the City Fibers was not acquired as an exaction.
 5          ANSWER: The allegations in Paragraph 4 of the Amended Counterclaims assert
 6 legal conclusions to which no response is required. To the extent a response is deemed
 7 required, Charter denies the allegations in Paragraph 4 of the Amended Counterclaims.
 8          5.     The City’s property interest in the City Fibers was a bargained for exchange
 9 with Spectrum’s predecessors.
10          ANSWER: The allegations in Paragraph 5 of the Amended Counterclaims assert
11 legal conclusions to which no response is required. To the extent a response is deemed
12 required, Charter denies the allegations in Paragraph 5 of the Amended Counterclaims.
13          6.     The City Fibers consist of “a duplex (2) fiber connection (with the exception
14 of City Hall to Police Depart and City Hall to Public Works which will have 4 fiber
15 connections route diversified using the Time Warner Cable [Loop].” See Dkt. No. 1, p 101.
16          ANSWER: The allegations in Paragraph 6 of the Amended Counterclaims purport
17 to quote, summarize, or derive from the parties’ IRU Agreement, which speaks for itself,
18 and Charter denies any characterization of its contents that is inconsistent with its text.
19          7.     City Fibers also include “such replacement strands or additional strands as
20 may be constructed by Grantor and paid for pursuant to the IRU Maintenance Agreement,
21 and shall comprise the ‘CityNet.’” See Dkt. No. 1, pg 92-93.
22          ANSWER: The allegations in Paragraph 7 purport to quote, summarize, or derive
23 from the parties’ IRU Agreement, which speaks for itself, and Charter denies any
24 characterization of its contents that is inconsistent with its text.
25          8.     Spectrum’s predecessor, Time Warner Cable Pacific West, LLC (“Time
26 Warner”), granted the City an exclusive property interest in the City Fibers, including a right
27 of access to “the City Fibers and any related facilities on Grantor’s side of the Demarcation
28 Point as necessary to perform installation and maintenance, or other actions permitted or

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 1 required under this Agreement or the Maintenance Agreement, to the extent that Grantor has
 2 failed or is no longer obligated to do so.” See Dkt. No. 1, p 93.
 3          ANSWER: The allegations in Paragraph 8 of the Amended Counterclaims assert
 4 legal conclusions to which no response is required. To the extent a response is deemed
 5 required, Charter denies the allegations in Paragraph 8 of the Amended Counterclaims.
 6 Answering further, the allegations in Paragraph 8 purport to quote, summarize, or derive
 7 from the parties’ IRU Agreement, which speaks for itself, and Charter denies any
 8 characterization of its contents that is inconsistent with its text.
 9          9.     The consideration for Spectrum’s predecessor in interest under the IRU
10 Agreement for the initial City Fibers was fully paid at the time of execution through the
11 elimination of “Grantor’s obligation to provide a Sub-I-Net, and eliminate Grantor’s
12 obligation to maintain certain spare fibers for the use of the City.” Document 1, p 92.
13          ANSWER: The allegations in Paragraph 9 of the Amended Counterclaims assert
14 legal conclusions to which no response is required. To the extent a response is deemed
15 required, Charter denies the allegations in Paragraph 9 of the Amended Counterclaims.
16 Answering further, the allegations in Paragraph 9 purport to quote, summarize, or derive
17 from the parties’ IRU Agreement, which speaks for itself, and Charter denies any
18 characterization of its contents that is inconsistent with its text.
19          10.    The parties intended to transfer and vest the IRU Agreement rights
20 immediately under the belief “that this agreement is not an executory contract, because all
21 of the obligations of the parties have been fully performed, and because this Agreement does
22 not create ongoing contractual obligations, but instead completes the transfer of the interest
23 provided for herein.” See Dkt. No. 1, p 98.
24          ANSWER: The allegations in Paragraph 10 of the Amended Counterclaims assert
25 legal conclusions to which no response is required. To the extent a response is deemed
26 required, Charter denies the allegations in Paragraph 10 of the Amended Counterclaims.
27 The allegations in Paragraph 10 purport to quote, summarize, or derive from the parties’
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 1 IRU Agreement, which speaks for itself, and Charter denies any characterization of its
 2 contents that is inconsistent with its text.
 3          11.    Subsequently, the City added additional strands to the City Fibers to connect
 4 new City sites which the City paid for as provided in the IRU Maintenance Agreement.
 5          ANSWER: Charter admits that additional strands were added to the City Fibers.
 6 The remaining allegations in Paragraph 11 assert legal conclusions to which no response is
 7 required. To the extent a response is deemed required, Charter denies the allegations in
 8 Paragraph 11 of the Amended Counterclaims. Except as specifically admitted, Charter
 9 denies the allegations in Paragraph 11 of the Amended Counterclaims.
10          12.    As part of the IRU Agreement, Spectrum, as successor in interest to Time
11 Warner, covenanted to “take all steps reasonably necessary to provide further assurance to
12 the City of the effectiveness of this transfer, and will take no actions to impair or cast doubt
13 upon the continuing effect of this Agreement as a complete and irrevocable transfer of a
14 right of use.” See Dkt. No. 1, p 98 [emphasis added].
15          ANSWER: The allegations in Paragraph 12 of the Amended Counterclaims assert
16 legal conclusions to which no response is required. To the extent a response is deemed
17 required, the allegations in Paragraph 12 purport to quote, summarize, or derive from the
18 parties’ IRU Agreement, which speaks for itself, and Charter denies any characterization of
19 its contents that is inconsistent with its text.
20          13.    By filing this lawsuit, Spectrum has breached this covenant and the IRU
21 Agreement, seeking instead to have this Court declare the IRU Agreement void under state
22 law, the Uniform Video Service License statute codified as A.R.S. §§ 9-1401, et seq. (the
23 “Uniform Video Law”).
24          ANSWER: The allegations in Paragraph 13 of the Amended Counterclaims assert
25 legal conclusions to which no response is required. To the extent a response is deemed
26 required, Charter denies the allegations in Paragraph 13 of the Amended Counterclaims.
27          14.    As part of the IRU Agreement, Spectrum, as successor in interest to Time
28 Warner, entered into a covenant “that in the event a decision by a telecommunications

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 1 regulatory authority at the federal or state level necessitates modifications in this Agreement,
 2 the parties will negotiate in good faith to modify this Agreement in light of such decision.”
 3 See Dkt. No. 1, p 95 [emphasis added].
 4           ANSWER: The allegations in Paragraph 14 of the Amended Counterclaims assert
 5 legal conclusions to which no response is required. To the extent a response is deemed
 6 required, the allegations in Paragraph 14 purport to quote, summarize, or derive from the
 7 parties’ IRU Agreement, which speaks for itself, and Charter denies any characterization of
 8 its contents that is inconsistent with its text.
 9           15.   By filing this lawsuit, Spectrum has breached this covenant, rather than
10 seeking to negotiate what Spectrum asserts is a far-reaching change in state law that would
11 require this Court declare that which cannot be “defeated, revoked, or lost,” void and of no
12 effect.
13           ANSWER: The allegations in Paragraph 15 of the Amended Counterclaims assert
14 legal conclusions to which no response is required. To the extent a response is deemed
15 required, Charter denies the allegations in Paragraph 15 of the Amended Counterclaims.
16           16.   The IRU Maintenance Agreement, like the IRU Agreement, is a separate
17 Agreement and provides, “This Agreement is not part of, or entered into, as a condition of
18 being issued a new, renewed or amended License to provide cable service . . . This
19 Agreement provides for no in-kind services or payments to the City but instead is a
20 transaction supported by fair and reasonable consideration. Time Warner Cable may not
21 offset any costs associated with this Agreement against any fee levied or assessed against it
22 under it License.” See Dkt. No. 1, pg 123.
23           ANSWER: The allegations in Paragraph 16 assert legal conclusions to which no
24 response is required. To the extent a response is deemed required, Charter denies the
25 allegations in Paragraph 16 of the Amended Counterclaims.              Answering further, the
26 remaining allegations in Paragraph 16 purport to quote, summarize, or derive from the
27 parties’ IRU Maintenance Agreement, which speaks for itself, and Charter denies any
28 characterization of its contents that is inconsistent with its text.

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 1         17.     The IRU Agreement states on the face of the agreement, “the parties desire to
 2 enter into a separate agreement for an institutional network that will preserve the City’s
 3 rights to use City Fibers . . . [which] addresses the rights of the parties with respect to the
 4 use of City Fibers . . . which is a separate Agreement for which there is separate
 5 consideration.” See Dkt. No. 1, pg 92.
 6         ANSWER: The allegations in Paragraph 17 purport to quote, summarize, or derive
 7 from the parties’ IRU Agreement, which speaks for itself, and Charter denies any
 8 characterization of its contents that is inconsistent with its text.
 9         18.     Under the terms of the IRU Agreements, Yuma paid separate consideration
10 for the installation of the City Fibers and has paid, and continues to pay, separate
11 consideration for the maintenance of the City Fibers, which Yuma utilizes for the sole
12 purpose of maintaining critical infrastructure communications between Yuma’s government
13 facilities.
14         ANSWER: The allegations in Paragraph 18 of the Amended Counterclaims assert
15 legal conclusions to which no response is required. To the extent a response is deemed
16 required, on information and belief, the City uses the City Fibers to maintain
17 communications between the City’s government facilities. Charter lacks information or
18 knowledge sufficient to form a belief as to the truth of the remaining allegations in Paragraph
19 18 of the Amended Counterclaims, and therefore denies them.
20         19.     Spectrum seeks to void the IRU Agreements and replace them with other
21 written contractual agreements that will charge Yuma substantially higher costs for the very
22 City Fibers Yuma already paid to install.
23         ANSWER: The allegations in Paragraph 19 assert legal conclusions to which no
24 response is required. To the extent a response is deemed required, Charter denies the
25 allegations in Paragraph 19 of the Amended Counterclaims.
26         20.     Under the IRU Agreements Yuma pays annual maintenance costs of
27 approximately $35,000 a year (subject to escalation terms), but Spectrum wants to force
28 Yuma into other “business arrangements” that would impose annual costs believed to be in

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 1 excess of $170,000 a year for the right to use those very same City Fibers, fibers the City
 2 already has an indefeasible right to use.
 3         ANSWER: The allegations in Paragraph 20 assert legal conclusions to which no
 4 response is required. To the extent a response is deemed required, Charter denies the
 5 allegations in Paragraph 20 of the Amended Counterclaims.           Answering further, the
 6 remaining allegations in Paragraph 20 purport to quote, summarize, or derive from
 7 documentary evidence, which speak for themselves, and Charter denies any characterization
 8 of their content that is inconsistent with their text.
 9         21.     In the 13 remaining years of the IRU Agreements, this results in contractual
10 damages to the City of approximately $1,755,000.
11         ANSWER: The allegations in Paragraph 21 assert legal conclusions to which no
12 response is required. To the extent a response is deemed required, Charter denies the
13 allegations in Paragraph 21 of the Amended Counterclaims.
14         22.     Spectrum’s lawsuit does not merely create some incidental economic impact
15 associated with the intended purpose of the Uniform Video Law, but seeks to expand the
16 purpose of the statute (in a way no other video service provider in the State of Arizona has
17 sought) in order to void indefeasible rights granted to Yuma for its critical communications
18 infrastructure, which will cost Yuma millions of dollars.
19         ANSWER: The allegations in Paragraph 22 assert legal conclusions to which no
20 response is required. To the extent a response is deemed required, Charter denies the
21 allegations in Paragraph 22 of the Amended Counterclaims.
22                                   PARTIES/JURISDICTION
23         23.     The City of Yuma (“Yuma”) is an Arizona municipal corporation.
24         ANSWER: The allegations in Paragraph 23 of the Amended Counterclaims assert
25 legal conclusions to which no response is required. To the extent a response is deemed
26 required, Charter states Yuma is an Arizona political subdivision and citizen of the State of
27 Arizona for diversity jurisdiction purposes.
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 1         24.    Upon information and belief, Spectrum Pacific West, LLC, formally known
 2 as Time Warner Cable Pacific West, LLC (“Spectrum”), is a Delaware limited liability
 3 company registered as a foreign entity to transact business within the State of Arizona.
 4         ANSWER: The allegations in Paragraph 24 of the Amended Counterclaims assert
 5 legal conclusions to which no response is required. To the extent a response is deemed
 6 required, Charter states Spectrum Pacific West, LLC, is a Delaware limited liability
 7 company registered as a foreign entity to transact business within the State of Arizona.
 8         25.    Spectrum’s Complaint is brought under the Court’s diversity jurisdiction
 9 pursuant to 28 U.S.C. § 1332, and this Amended Counterclaim is submitted pursuant to 28
10 U.S.C. § 1332 and within the Court’s pendent jurisdiction.
11         ANSWER: The allegations in Paragraph 25 of the Amended Counterclaims assert
12 legal conclusions to which no response is required. To the extent a response is deemed
13 required, Charter states that the Court has subject matter jurisdiction.
14         26.    Yuma asserts that venue is proper at the John M. Roll United States
15 Courthouse (the “John M. Roll Courthouse”) in Yuma, Arizona, established to accommodate
16 litigants in rural Arizona, such as Yuma, which is domiciled in Yuma County.
17         ANSWER: The allegations in Paragraph 26 assert legal conclusions to which no
18 response is required. To the extent a response is deemed required, Charter denies the
19 allegations of Paragraph 26 of the Amended Counterclaims.
20                                 GENERAL ALLEGATIONS
21         27.    Yuma re-alleges and incorporates by reference the allegations and statements
22 set forth in Paragraphs 1 through 26 of its Amended Counterclaim as if fully set forth herein.
23         ANSWER:        Charter re-affirms and incorporates by reference its answers to
24 Paragraphs 1 through 26 of this Answer in response to Paragraph 27 of the Amended
25 Counterclaims.
26         28.    In bringing this Amended Counterclaim, Yuma does not concede that
27 Arizona’s Uniform Video Law is valid and continues to reserve all available defenses
28 including but not limited to vested contract rights, property rights, and constitutional

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 1 defenses with regard to the validity of the statute where the statute conflicts with federal and
 2 other state laws.
 3         ANSWER: The allegations in Paragraph 28 assert legal conclusions to which no
 4 response is required. To the extent a response is deemed required, Charter lacks information
 5 or knowledge sufficient to form a belief as to the truth of the allegations in Paragraph 28 of
 6 the Amended Counterclaims.
 7         29.    Yuma and Spectrum (including Spectrum’s predecessors) have had a long-
 8 standing contractual relationship concerning cable services in the jurisdictional limits of the
 9 City of Yuma.
10         ANSWER: The allegations in Paragraph 29 assert legal conclusions to which no
11 response is required.
12         30.    That contractual relationship dates back to 1995, when Spectrum’s
13 predecessor obtained a license from Yuma to provide cable services to the residents of Yuma
14 (the “1995 License”).
15         ANSWER: On information and belief, Charter admits its predecessor obtained a
16 license from the City on or around 1995. Except as specifically admitted, Charter denies the
17 allegations in Paragraph 30 of the Amended Counterclaims.
18         31.    Under federal and state law, cable providers must have a franchise or license
19 agreement with a local government to operate its cable system in the public rights-of-way.
20         ANSWER: The allegations in Paragraph 31 assert legal conclusions to which no
21 response is required.
22         32.    For purposes of this Amended Counterclaim, Spectrum and its predecessors
23 shall be collectively referred to as “Spectrum.”
24         ANSWER: The allegations in Paragraph 32 do not require a response. To the extent
25 a response is deemed required, Charter states that the Amended Counterclaims state that the
26 Amended Counterclaims refer to Spectrum and its predecessors as “Spectrum.”
27         33.    As part of the 1995 License, and in a series of settlements and agreements
28 entered into between 1995 and 2015, Spectrum’s predecessors agreed to certain terms and

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 1 conditions in return for the License, based on, inter alia, the unauthorized transfer of the
 2 license to another entity.
 3         ANSWER: The allegations in Paragraph 33 assert legal conclusions to which no
 4 response is required. To the extent a response is deemed required, Charter denies the
 5 allegations in Paragraph 33 of the Amended Counterclaims.              Answering further, the
 6 allegations in Paragraph 33 purport to quote, summarize, or derive from prior agreements
 7 between the parties and Charter’s predecessor, which speak for themselves, and Charter
 8 denies any characterization of their contents that are inconsistent with their text.
 9         34.     During the course of those relationships, the parties were able to settle
10 performance disputes, and other issues, which ultimately resulted in the establishment of
11 separate contractual agreements, the IRU Agreement and the IRU Maintenance Agreement
12 distinct from the License to use and occupy the rights-of-way to provide cable service.
13         ANSWER: The allegations in Paragraph 34 assert legal conclusions to which no
14 response is required. To the extent a response is deemed required, Charter denies the
15 allegations in Paragraph 34 of the Amended Counterclaims.              Answering further, the
16 allegations in Paragraph 34 purport to summarize, quote, or derive from documentary
17 evidence or electronic sources, which speak for themselves, and Charter denies any
18 characterization of their contents that is inconsistent with their text.
19         35.     While the 1995 License was scheduled to expire in 2005, the parties repeatedly
20 extended it, and the 2015 License Agreement was a further extension of that license, with
21 some important differences. While the 1995 License included an institutional network
22 requirement, in 2015, following an earlier bankruptcy of one of Spectrum’s predecessors
23 and a number of legislative changes, the parties agreed to enter into a separate License
24 Agreement, a separate IRU Agreement, and a separate IRU Maintenance Agreement.
25         ANSWER: The allegations in Paragraph 35 assert legal conclusions to which no
26 response is required. To the extent a response is deemed required, Charter denies the
27 allegations in Paragraph 35 of the Amended Counterclaims.              Answering further, the
28 allegations in Paragraph 35 purport to summarize, quote, or derive from documentary

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 1 evidence or electronic sources, which speak for themselves, and Charter denies any
 2 characterization of their contents that is inconsistent with their text.
 3         36.    The IRU Agreement and IRU Maintenance Agreement are commercial
 4 agreements in which under the former, Spectrum’s predecessor granted Yuma a property
 5 interest in the City Fibers and under the latter, Yuma pays Spectrum to provide Yuma with
 6 maintenance and construction services for those City Fibers.
 7         ANSWER: The allegations in Paragraph 36 assert legal conclusions to which no
 8 response is required. To the extent a response is deemed required, Charter denies the
 9 allegations in Paragraph 36 of the Amended Counterclaims. Answering further, the
10 allegations in Paragraph 36 purport to quote, summarize, or derive from prior agreements
11 between the parties and Charter’s predecessor, which speak for themselves, and Charter
12 denies any characterization of their contents that are inconsistent with their text.
13          37.   By their terms, each Agreement is separate and apart from the License
14   Agreement, and supported by separate consideration.
15         ANSWER: The allegations in Paragraph 37 assert legal conclusions to which no
16   response is required. To the extent a response is deemed required, Charter denies the
17   allegations in Paragraph 37 of the Amended Counterclaims. Answering further, the
18   allegations in Paragraph 37 purport to quote, summarize, or derive from prior agreements
19   between the parties and Charter’s predecessor, which speak for themselves, and Charter
20   denies any characterization of their contents that are inconsistent with their text.
21         The IRU Agreement
22         38.    The IRU Agreement, dated February 1, 2015, between Yuma and Spectrum
23 grants Yuma an indefeasible right of use (“IRU”) to specific optical fibers embedded in
24 Spectrum’s system and also extends the IRU to fiber that Yuma pays Spectrum to install in
25 the future (the fiber and certain associated equipment are called the “City Fibers”). The
26 system itself, which is an “institutional network” as that term is defined under federal law,
27 was called CityNet.
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 1          ANSWER: The allegations in Paragraph 38 assert legal conclusions to which no
 2 response is required. To the extent a response is deemed required, the allegations in
 3 Paragraph 38 purport to quote, summarize, or derive from the parties’ IRU Agreement,
 4 which speaks for itself, and Charter denies any characterization of its contents that is
 5 inconsistent with its text.
 6          39.    The IRU Agreement is attached as Exhibit “E” to Spectrum’s Complaint and
 7 incorporated herein by this reference.
 8          ANSWER: Charter admits it attached a copy of the IRU Agreement as Exhibit E to
 9 its Complaint. Except as specifically admitted, Charter denies the allegations in Paragraph
10 39 of the Amended Counterclaims.
11          40.    The IRU Agreement is independent of, and has a longer term than the 2015
12 License.
13          ANSWER: The allegations in Paragraph 40 assert legal conclusions to which no
14 response is required. To the extent a response is deemed required, the allegations in
15 Paragraph 40 purport to quote, summarize, or derive from the parties’ IRU Agreement,
16 which speaks for itself, and Charter denies any characterization of its contents that is
17 inconsistent with its text.
18          41.    The IRU Agreement does not depend on Spectrum continuing to hold a
19 License to provide video services, and is not tied to Spectrum’s status under the Cable Act,
20 or state law.
21          ANSWER: The allegations in Paragraph 41 assert legal conclusions to which no
22 response is required. To the extent a response is deemed required, Charter denies the
23 allegations in Paragraph 41 of the Amended Counterclaims.           Answering further, the
24 allegations in Paragraph 41 purport to quote, summarize, or derive from the parties’ IRU
25 Agreement, which speaks for itself, and Charter denies any characterization of its contents
26 that is inconsistent with its text.
27          42.    The City of Yuma has other indefeasible rights of use agreements and
28   maintenance agreements, similar to the IRU Agreements at issue in this lawsuit.

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 1          ANSWER: The allegations in Paragraph 42 assert legal conclusions to which no
 2   response is required. To the extent a response is deemed required, Charter lacks information
 3   or knowledge sufficient to form a belief as to the truth of the allegations in Paragraph 42 of
 4   the Amended Counterclaims, and therefore denies the allegations in Paragraph 42 of the
 5   Amended Counterclaims.
 6          43.    The IRU Agreement with Spectrum does not expire until January 31, 2035, or
 7 if earlier, the date that Spectrum ceases to provide any service, of any sort, in Yuma. The
 8 IRU Agreement is also subject to termination for cause, which causes do not include
 9 compliance or non-compliance with the 2015 License Agreement.
10          ANSWER: The allegations in Paragraph 43 of the Amended Counterclaims assert
11 legal conclusions to which no response is required. To the extent a response is deemed
12 required, the allegations in Paragraph 43 purport to quote, summarize, or derive from the
13 parties’ IRU Agreement, which speaks for itself, and Charter denies any characterization of
14 its contents that is inconsistent with its text.
15          44.    The IRU Agreement’s stated purpose was for a “separate agreement for an
16 institutional network that will preserve the City’s rights to use City Fibers . . .; that will
17 eliminate [Spectrum’s] obligation to provide a Sub-I-Net, and eliminate [Spectrum’s]
18 obligation to maintain certain spare fibers for the use of the City; and further desire to enter
19 into an agreement under which [Spectrum] will agree to provide certain services to the City
20 (the ‘CityNet Maintenance Agreement’).” See Recitals in the IRU Agreement.
21          ANSWER: The allegations in Paragraph 44 of the Amended Counterclaims assert
22 legal conclusions to which no response is required. To the extent a response is deemed
23 required, the allegations in Paragraph 44 of the Amended Counterclaims purport to quote,
24 summarize, or derive from the parties’ IRU Agreement, which speaks for itself, and Charter
25 denies any characterization of its contents that is inconsistent with its text.
26          45.    The parties further agreed (in Section 4) that Spectrum had been fully paid for
27 the existing fibers by Yuma (and would be fully paid for any future fibers).
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 1          ANSWER: The allegations in Paragraph 45 of the Amended Counterclaims assert
 2 legal conclusions to which no response is required. To the extent a response is deemed
 3 required, Charter denies the allegations in Paragraph 45 of the Amended Counterclaims.
 4 Answering further, the allegations in Paragraph 45 purport to quote, summarize, or derive
 5 from the parties’ IRU Agreement, which speaks for itself, and Charter denies any
 6 characterization of its contents that is inconsistent with its text.
 7          46.    That consideration included the release of claims by Yuma that otherwise
 8 might have arisen under the 1995 License.
 9          ANSWER: The allegations in Paragraph 46 of the Amended Counterclaims assert
10 legal conclusions to which no response is required. To the extent a response is deemed
11 required, Charter denies the allegations in Paragraph 46 of the Amended Counterclaims.
12 Answering further, the allegations in Paragraph 46 purport to quote, summarize, or derive
13 from the documentary evidence, which speaks for itself, and Charter denies any
14 characterization of its contents that is inconsistent with its text.
15          47.    The parties agreed that the releases would be included in other documents, and
16 in fact, a release was included when the License was extended, in Section 2(j) of the 2015
17 License Agreement and further acknowledged in Section 2(b) of the Transfer Agreement,
18 attached as Exhibit “C” to Spectrum’s Complaint and incorporated by this reference.
19          ANSWER: Charter admits it attached a copy of the Transfer Agreement as Exhibit
20 C to its Complaint.        The remaining allegations in Paragraph 47 of the Amended
21 Counterclaims assert legal conclusions to which no response is required. To the extent a
22 response is deemed required, Charter denies the allegations in Paragraph 47 of the Amended
23 Counterclaims.      Answering further, the allegations in Paragraph 47 purport to quote,
24 summarize, or derive from documentary evidence and the parties’ agreements, which speak
25 for themselves, and Charter denies any characterization of their contents that are inconsistent
26 with their text. Except as specifically admitted, Charter denies the allegations in Paragraph
27 47 of the Amended Counterclaims.
28          48.    The IRU Agreement vested certain property rights to Yuma upon execution:

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 1                 Subject to the terms and conditions of this Agreement, Grantor
                   hereby grants to the City an indefeasible right of use (“IRU”) to
 2                 use the City Fibers during the Term (as defined below). This
                   grant is a transfer to the City of rights to exclusive use of the
 3                 City Fibers sufficient to grant the City an exclusive and
                   irrevocable right to use the fibers during the Term, the term
 4                 “use” including not just the right to send signals to and through
                   the fibers, but to attach devices to the fibers, and to splice and
 5                 maintain the fibers subject to those limits set forth herein.
                   Grantor may take no action with respect to the City Fibers that
 6                 would prevent its continued use by the City, or otherwise
                   adversely affect the rights of the City granted herein, except with
 7                 the City’s Consent.
 8 See Section 1.1 of the IRU Agreement.
 9          ANSWER: The allegations in Paragraph 48 of the Amended Counterclaims assert
10 legal conclusions to which no response is required. To the extent a response is deemed
11 required, Charter denies the allegations in Paragraph 48 of the Amended Counterclaims.
12 Answering further, the allegations in Paragraph 48 purport to quote, summarize, or derive
13 from the parties’ IRU Agreement, which speaks for itself, and Charter denies any
14 characterization of its contents that is inconsistent with its text.
15          49.    The high degree of autonomy and exclusive use provided to Yuma for the City
16 Fibers in the IRU Agreement reflects the extent of the property interest which includes a
17 right “to have access to the City Fibers and any related facilities on [Spectrum’s] side of the
18 Demarcation Point as necessary to perform installation and maintenance, or other actions
19 permitted or required under this Agreement or the Maintenance Agreement, to the extent
20 that Grantor has failed or is no longer obligated to do so.” See Paragraph 1.2 of the IRU
21 Agreement.
22          ANSWER: The allegations in Paragraph 49 of the Amended Counterclaims assert
23 legal conclusions to which no response is required. To the extent a response is deemed
24 required, Charter denies the allegations in Paragraph 49 of the Amended Counterclaims.
25 Answering further, allegations in Paragraph 49 purport to quote, summarize, or derive from
26 the parties’ IRU Agreement, which speaks for itself, and Charter denies any characterization
27 of its contents that is inconsistent with its text.
28

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 1         50.     The IRU Agreement further states that Yuma “shall have the exclusive use of
 2 the City Fibers, subject to any use restrictions set forth in the [IRU] Maintenance
 3 Agreement.” See Paragraph 3.3.1 of the IRU Agreement.
 4         ANSWER: The allegations in Paragraph 50 purport to quote, summarize, or derive
 5 from the parties’ IRU Agreement, which speaks for itself, and Charter denies any
 6 characterization of its contents that is inconsistent with its text.
 7         51.     The IRU Agreement provides Yuma with the City Fibers to Yuma’s critical
 8 emergency infrastructure connecting various facilities, including, but not limited to: (1) the
 9 Yuma Police Department; (2) Fire Station No. 1; (3) City Hall; (4) Yuma County Sheriff’s
10 Office; (5) Main Street Water Treatment Plant; (6) Police Evidence; (7) Agua Viva Water
11 Treatment Plant; (8) Fire Station No. 2; (9) Fire Station No. 3; (10) Fire Station No. 4; (11)
12 Fire Station No. 5; (12) Fire Station No. 6; (13) Public Works; (14) Municipal Court; (15)
13 City Prosecutor; (16) Police Department Substation; (17) Desert Dunes Water Plant; (18)
14 Figueroa Water Plant; and (19) the Readiness Center.
15         ANSWER: The allegations in Paragraph 51 of the Amended Counterclaims assert
16 legal conclusions to which no response is required. To the extent a response is required, the
17 allegations in Paragraph 51 purport to quote, summarize, or derive from the parties’ IRU
18 Agreement, which speaks for itself, and Charter denies any characterization of its contents
19 that is inconsistent with its text. Answering further, Charter lacks information or knowledge
20 sufficient to form a belief as to the truth of the remaining allegations in Paragraph 51 of the
21 Amended Counterclaims.
22         52.     The IRU Agreement further provides that it is the “intent and understanding
23 of the parties in entering into the Agreement, to create a transfer of rights to Yuma and that
24 the “parties believe that the IRU Agreement is not an executory contract, because all of the
25 obligations of the parties have been fully performed, and because this Agreement does not
26 create ongoing contractual obligations, but instead completes the transfer of interests
27 provided for herein.” See Section 11.3 of the IRU Agreement.
28

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 1          ANSWER: The allegations in Paragraph 52 purport to quote, summarize, or derive
 2 from the parties’ IRU Agreement, which speaks for itself, and Charter denies any
 3 characterization of its contents that is inconsistent with its text.
 4          53.    The IRU Agreement is binding upon each of the parties’ respective successors
 5 and permitted assigns. See Paragraph 11.4 of the IRU Agreement.
 6          ANSWER: The allegations in Paragraph 53 of the Amended Counterclaims assert
 7 legal conclusions to which no response is required. To the extent a response is deemed
 8 required, the allegations in Paragraph 53 purport to quote, summarize, or derive from the
 9 parties’ IRU Agreement, which speaks for itself, and Charter denies any characterization of
10 its contents that is inconsistent with its text.
11          54.    The IRU Agreement is governed and construed in accordance with the laws of
12 the State of Arizona.
13          ANSWER: The allegations in Paragraph 54 of the Amended Counterclaims assert
14 legal conclusions to which no response is required. To the extent a response is deemed
15 required, the allegations in Paragraph 54 purport to quote, summarize, or derive from the
16 parties’ IRU Agreement, which speaks for itself, and Charter denies any characterization of
17 its contents that is inconsistent with its text.
18          The IRU Maintenance Agreement
19          55.    At the same time Yuma and Spectrum entered into the IRU Agreement, the
20 parties executed a separate agreement for the maintenance of the City Fibers, the IRU
21 Maintenance Agreement.
22          ANSWER:        Charter admits that Charter and the City are parties to the IRU
23 Maintenance Agreement.          Answering further, the allegations in Paragraph 55 of the
24 Amended Counterclaims assert legal conclusions to which no response is required. To the
25 extent a response is deemed required, Charter denies the allegations in Paragraph 55 of the
26 Amended Counterclaims. Answering further, the allegations in Paragraph 55 purport to
27 quote, summarize, or derive from the parties’ IRU Maintenance Agreement, which speaks
28 for itself, Charter denies any characterization of its contents that is inconsistent with its text.

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 1 Except as specifically admitted, Charter denies the allegations in Paragraph 55 of the
 2 Amended Counterclaims.
 3          56.    Under the IRU Agreement, Yuma has the right to maintain and repair City
 4 Fibers, which may be bundled together with other fibers that are not part of the CityNet, and
 5 which are used by Spectrum for commercial purposes.
 6          ANSWER: The allegations in Paragraph 56 of the Amended Counterclaims assert
 7 legal conclusions to which no response is required. To the extent a response is deemed
 8 required, the allegations in Paragraph 56 purport to quote, summarize, or derive from the
 9 parties’ IRU Agreement, which speaks for itself, and Charter denies any characterization of
10 its contents that is inconsistent with its text.
11          57.    The IRU Maintenance Agreement provides a benefit to Spectrum, by allowing
12 Spectrum to control the maintenance of the entirety of its network, on commercially
13 acceptable terms.
14          ANSWER: The allegations in Paragraph 57 of the Amended Counterclaims assert
15 legal conclusions to which no response is required. To the extent a response is deemed
16 required, Charter denies the allegations in Paragraph 57 of the Amended Counterclaims.
17 Answering further, the allegations in Paragraph 57 purport to quote, summarize, or derive
18 from the parties’ IRU Maintenance Agreement, which speaks for itself, and Charter denies
19 any characterization of its contents that is inconsistent with its text.
20          58.    The IRU Maintenance Agreement is attached as Exhibit “F” to Spectrum’s
21 Complaint and incorporated by this reference.
22          ANSWER: Charter admits it attached a copy of the IRU Maintenance Agreement as
23 Exhibit F to its Complaint. Except as specifically admitted, Charter denies the allegations
24 in Paragraph 58 of the Amended Counterclaims.
25          59.    The IRU Maintenance Agreement is independent of, and has a longer term
26 than the 2015 License.
27          ANSWER: The allegations in Paragraph 59 of the Amended Counterclaims assert
28 legal conclusions to which no response is required. To the extent a response is deemed

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 1 required, the allegations in Paragraph 59 purport to quote, summarize, or derive from the
 2 parties’ IRU Maintenance Agreement, which speaks for itself, and Charter denies any
 3 characterization of its contents that is inconsistent with its text.
 4          60.    The IRU Maintenance Agreement does not depend on Spectrum continuing to
 5 hold a License to provide video services, and is not tied to its status under the Cable Act, or
 6 state law. See Section 21 (“This Agreement is not part of, or entered into, as a condition of
 7 being issued a new, renewed or amended License to provide cable service. . . . This
 8 Agreement provides for no in-kind services or payments to the City but instead is a
 9 transaction supported by fair and reasonable consideration. [Spectrum] may not offset any
10 costs associated with this Agreement against any fee levied or assessed against it under its
11 License.”).
12          ANSWER: The allegations in Paragraph 60 of the Amended Counterclaims assert
13 legal conclusions to which no response is required. To the extent a response is required,
14 Charter denies the allegations in Paragraph 60 of the Amended Counterclaims. Answering
15 further, the allegations in Paragraph 60 purport to quote, summarize, or derive from the
16 parties’ IRU Maintenance Agreement, the Cable Act, and Arizona state law, which speak
17 for themselves, and Charter denies any characterization of their contents that is inconsistent
18 with their text.
19          61.    The IRU Maintenance Agreement does not expire until January 31, 2035, or
20 if earlier, the date Spectrum ceases to provide any services via its system in Yuma.
21          ANSWER: The allegations in Paragraph 61 of the Amended Counterclaims assert
22 legal conclusions to which no response is required. To the extent a response is required, the
23 allegations in Paragraph 61 purport to quote, summarize, or derive from the parties’ IRU
24 Maintenance Agreement, which speaks for itself, and Charter denies any characterization of
25 its contents that is inconsistent with its text.
26          62.    The IRU Maintenance Agreement is also subject to termination for cause,
27 which causes do not include compliance or non-compliance with the 2015 License
28 Agreement.

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 1          ANSWER: The allegations in Paragraph 62 of the Amended Counterclaims assert
 2 legal conclusions to which no response is required. To the extent a response is required, the
 3 allegations in Paragraph 62 purport to quote, summarize, or derive from the parties’ IRU
 4 Maintenance Agreement, which speaks for itself, and Charter denies any characterization of
 5 its contents that is inconsistent with its text.
 6          63.    The IRU Maintenance Agreement provides for the maintenance of the City
 7 Fibers at an agreed upon-fee.
 8          ANSWER: The allegations in Paragraph 63 of the Amended Counterclaims assert
 9 legal conclusions to which no response is required. To the extent a response is required, the
10 allegations in Paragraph 63 purport to quote, summarize, or derive from the parties’ IRU
11 Maintenance Agreement, which speaks for itself, and Charter denies any characterization of
12 its contents that is inconsistent with its text.
13          64.    The fee is tied to the distance of the service point, and increases or decreases
14 as City Fibers are added or removed from service. See Section 2 of the IRU Maintenance
15 Agreement.
16          ANSWER: The allegations in Paragraph 64 of the Amended Counterclaims assert
17 legal conclusions to which no response is required. To the extent a response is required, the
18 allegations in Paragraph 64 purport to quote, summarize, or derive from the parties’ IRU
19 Maintenance Agreement, which speaks for itself, and Charter denies any characterization of
20 its contents that is inconsistent with its text.
21          65.    In return for this annual payment, Spectrum agreed to maintain the system to
22 certain standards at a particular cost.
23          ANSWER: The allegations in Paragraph 65 of the Amended Counterclaims assert
24 legal conclusions to which no response is required. To the extent a response is required,
25 Charter denies the allegations in Paragraph 65 of the Amended Counterclaims. Answering
26 further, the allegations in Paragraph 65 purport to quote, summarize, or derive from the
27 parties’ IRU Maintenance Agreement, which speaks for itself, and Charter denies any
28 characterization of its contents that is inconsistent with its text.

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 1          66.    On information and belief, those standards create no additional burden for
 2 Spectrum.
 3          ANSWER:        Charter denies the allegations in Paragraph 66 of the Amended
 4 Counterclaims.
 5          67.    The IRU Maintenance Agreement also provides for construction of additional
 6 City Fibers for an agreed-upon fee, which is intended to permit Spectrum to recover all of
 7 its costs. See Sections 2 and 3 of the IRU Maintenance Agreement.
 8          ANSWER: The allegations in Paragraph 67 of the Amended Counterclaims assert
 9 legal conclusions to which no response is required. To the extent a response is deemed
10 required, Charter denies the allegations in Paragraph 67 of the Amended Counterclaims.
11 Answering further, the allegations in Paragraph 67 purport to quote, summarize, or derive
12 from the parties’ IRU Maintenance Agreement, which speaks for itself, and Charter denies
13 any characterization of its contents that is inconsistent with its text.
14          68.    The IRU Maintenance Agreement also provides an opportunity for shared
15 costs where a project would benefit both Spectrum and Yuma. See Section 3 of the IRU
16 Maintenance Agreement.
17          ANSWER: The allegations in Paragraph 68 of the Amended Counterclaims assert
18 legal conclusions to which no response is required. To the extent a response is deemed
19 required, the allegations in Paragraph 68 purport to quote, summarize, or derive from the
20 parties’ IRU Maintenance Agreement, which speaks for itself, and Charter denies any
21 characterization of its contents that is inconsistent with its text.
22          69.    Yuma further (in Section 20) relieved Spectrum of certain then-enforceable
23 obligations under the 1995 License Agreement.
24          ANSWER: The allegations in Paragraph 69 of the Amended Counterclaims assert
25 legal conclusions to which no response is required. To the extent a response is required, the
26 allegations in Paragraph 69 purport to quote, summarize, or derive from the parties’ IRU
27 Maintenance Agreement, which speaks for itself, and Charter denies any characterization of
28 its contents that is inconsistent with its text.

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 1          70.    The IRU Maintenance Agreement states on its face that it is a commercial
 2 arrangement, and contains enforceable terms and conditions for the maintenance and
 3 expansion of Yuma’s internal network, the CityNet.
 4          ANSWER: The allegations in Paragraph 70 of the Amended Counterclaims assert
 5 legal conclusions to which no response is required.        To the extent a response is deemed
 6 required, the allegations in Paragraph 70 purport to quote, summarize, or derive from the
 7 parties’ IRU Maintenance Agreement, which speaks for itself, and Charter denies any
 8 characterization of its contents that is inconsistent with its text.
 9          71.    The IRU Maintenance Agreement limits Yuma’s use of the City Fibers to
10 lawful government purposes, and for purposes related to the transmission of signals
11 associated with public, educational and government access channel use of the fibers and
12 Yuma may not otherwise permit third-parties to use the City Fibers to provide video
13 programing services. See Section 7(a) of the IRU Maintenance Agreement.
14          ANSWER: The allegations in Paragraph 71 of the Amended Counterclaims assert
15 legal conclusions to which no response is required. To the extent a response is deemed
16 required, the allegations in Paragraph 71 purport to quote, summarize, or derive from the
17 parties’ IRU Maintenance Agreement, which speaks for itself, and Charter denies any
18 characterization of its contents that is inconsistent with its text.
19          72.    The IRU Maintenance Agreement is binding upon each of the parties’
20 respective successors and permitted assigns. See Section 11 of the IRU Maintenance
21 Agreement.
22          ANSWER: The allegations in Paragraph 72 of the Amended Counterclaims assert
23 legal conclusions to which no response is required. To the extent a response is deemed
24 required, the allegations in Paragraph 72 purport to quote, summarize, or derive from the
25 parties’ IRU Maintenance Agreement, which speaks for itself, and Charter denies any
26 characterization of its contents that is inconsistent with its text.
27          73.    The IRU Maintenance Agreement is governed and construed in accordance
28 with the laws of the State of Arizona.

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 1         ANSWER: The allegations in Paragraph 73 of the Amended Counterclaims assert
 2 legal conclusions to which no response is required. To the extent a response is deemed
 3 required, the allegations in Paragraph 73 purport to quote, summarize, or derive from the
 4 parties’ IRU Maintenance Agreement, which speaks for itself, and Charter denies any
 5 characterization of its contents that is inconsistent with its text.
 6         74.     The IRU Agreement and IRU Maintenance Agreement were not a condition
 7 of, or mandated by the 2015 License Agreement, and it was the specific intent of the parties
 8 to ensure that the IRU Agreements were in fact distinct and separate agreements not tied to
 9 or a part of the 2015 License.
10         ANSWER: The allegations in Paragraph 74 of the Amended Counterclaims assert
11 legal conclusions to which no response is required. To the extent a response is deemed
12 required, Charter denies the allegations in Paragraph 74 of the Amended Counterclaims.
13 Answering further, the allegations in Paragraph 74 purport to quote, summarize, or derive
14 from the parties’ IRU Agreement and IRU Maintenance Agreement, which speak for
15 themselves, and Charter denies any characterization of their contents that is inconsistent with
16 their text.
17         75.     The IRU Agreement and IRU Maintenance Agreement are not classified as
18 “video services” as defined by A.R.S. § 9-1401, and thus do not fall within the scope of
19 A.R.S. § 9-1402, concerning licensing and regulation of video services under the Uniform
20 Video Law.
21         ANSWER: The allegations in Paragraph 75 of the Amended Counterclaims assert
22 legal conclusions to which no response is required. To the extent a response is deemed
23 required, Charter denies the allegations in Paragraph 75.
24         76.     Further, the Arizona Statutes do not prevent localities from entering into
25 contracts for services or facilities with any video service provider, and only reach contracts
26 if “entered into as a condition of operating in the service area under a uniform video service
27 license.” See A.R.S. 9-1442(I).
28

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 1          ANSWER: The allegations in Paragraph 76 of the Amended Counterclaims assert
 2 legal conclusions to which no response is required. To the extent a response is deemed
 3 required, Charter denies the allegations in Paragraph 76. Answering further, the allegations
 4 in Paragraph 76 purport to quote, summarize, or derive from Arizona’s Uniform Franchise
 5 Law, which speaks for itself, and Charter denies any characterization of its contents that is
 6 inconsistent with its text.
 7          77.    To further demonstrate the separation between the IRU Maintenance
 8 Agreement and the original 1995 License, the IRU Maintenance Agreement provided for a
 9 release of various provisions of the 1995 License.
10          ANSWER: The allegations in Paragraph 77 of the Amended Counterclaims assert
11 legal conclusions to which no response is required. To the extent a response is deemed
12 required, the allegations in Paragraph 77 purport to quote, summarize, or derive from the
13 parties’ IRU Maintenance Agreement, which speaks for itself, and Charter denies any
14 characterization of its contents that is inconsistent with its text.
15          The 2015 License
16          78.    On or about May 1, 2015, Yuma entered into the 2015 License with Spectrum,
17 which authorized Spectrum’s use of Yuma’s public rights-of-way for Spectrum’s video
18 services.
19          ANSWER: Charter admits the City and Charter are parties to a Cable Television
20 License Agreement (“City Franchise”) entered into in 2015. The remaining allegations in
21 Paragraph 78 assert legal conclusions to which no response is required. To the extent a
22 response is deemed required, the allegations in Paragraph 78 purport to quote, summarize,
23 or derive from the parties’ City Franchise, which speaks for itself, and Charter denies any
24 characterization of its contents that is inconsistent with its text.
25          79.    The 2015 License is attached as Exhibit “D” to Spectrum’s Complaint and
26 incorporated herein by this reference.
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 1          ANSWER: Charter admits it attached a copy of its 2015 license with the City as
 2 Exhibit D to its Complaint. Except as specifically admitted, Charter denies the allegations
 3 in Paragraph 79 of the Amended Counterclaims.
 4          80.     The 2015 License was set to expire on March 31, 2025.
 5          ANSWER: The allegations in Paragraph 80 assert legal conclusions to which no
 6 response is required. To the extent a response is deemed required, the allegations in
 7 Paragraph 80 purport to quote, summarize, or derive from the parties’ City Franchise, which
 8 speaks for itself, and Charter denies any characterization of its contents that is inconsistent
 9 with its text.
10          81.     The 2015 License concerned the provision of “Cable Service to residents of
11 the City” and oversight of Spectrum’s cable services within Yuma’s jurisdiction.
12          ANSWER: The allegations in Paragraph 81 assert legal conclusions to which no
13 response is required. To the extent a response is deemed required, the allegations in
14 Paragraph 81 purport to quote, summarize, or derive from the parties’ City Franchise, which
15 speaks for itself, and Charter denies any characterization of its contents that is inconsistent
16 with its text.
17          82.     The 2015 License provided for regulation and oversight of Spectrum’s
18 services, ensuring that residents of Yuma are adequately protected in connection with
19 construction costs, continuity of service, price increases, service interruptions, operation and
20 reporting requirements, audit provision and other necessary provisions to ensure that the
21 residents of Yuma are protected.
22          ANSWER: The allegations in Paragraph 82 assert legal conclusions to which no
23 response is required. To the extent a response is deemed required, Charter denies the
24 allegations in Paragraph 82 of the Amended Counterclaims. Answering further, the
25 allegations in Paragraph 82 purport to quote, summarize, or derive from the parties’ City
26 Franchise, which speaks for itself, and Charter denies any characterization of its contents
27 that is inconsistent with its text.
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 1         83.    The 2015 License was subsequently replaced with a Uniform License at
 2 Spectrum’s request pursuant to the Uniform Video Law.
 3         ANSWER: The allegations in Paragraph 82 assert legal conclusions to which no
 4 response is required. To the extent a response is deemed required, Charter admits it
 5 eventually received a uniform video service license from the City.
 6         84.    After the parties entered into the IRU Agreement, the IRU Maintenance
 7 Agreement and the 2015 License, Spectrum sought Yuma’s approval to transfer the various
 8 agreements to another entity, CCH I, LLC.
 9         ANSWER: Charter admits it sought approval to transfer certain agreements to CCH
10 I, LLC. Except as specifically admitted, Charter denies the allegations in Paragraph 84 of
11 the Amended Counterclaims.
12         85.    Pursuant to Spectrum’s request, Yuma, Spectrum and CCH I, LLC entered
13 into that certain Agreement Regarding Transfer of Control of Licensee from Time Warner
14 Cable Inc. to CCH I, LLC (the “Transfer Agreement”).
15         ANSWER: Charter admits the City transferred the City Franchise and the IRU
16 Agreements to CCH I, LLC on or about December 30, 2015. Except as specifically
17 admitted, Charter denies the allegations in Paragraph 85 of the Amended Counterclaims.
18         The Transfer Agreement
19         86.    The Transfer Agreement, dated December 30, 2015, authorized the transfer of
20 the control of the 2015 License to Charter [Spectrum], but the Licensee continued to be the
21 only holder of the 2015 License, the IRU Agreement and the IRU Maintenance Agreement.
22         ANSWER: The allegations in Paragraph 86 assert legal conclusions to which no
23 response is required. To the extent a response is deemed required, the allegations in
24 Paragraph 86 purport to quote, summarize, or derive from the parties’ Transfer Agreement,
25 which speaks for itself, and Charter denies any characterization of its contents that is
26 inconsistent with its text.
27         87.    The Transfer Agreement is attached as Exhibit “C” to Spectrum’s Complaint
28 and incorporated by this reference.

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 1          ANSWER: Charter admits it attached a copy of the Transfer Agreement as Exhibit
 2 C to its Complaint. Except as specifically admitted, Charter denies the allegations in
 3 Paragraph 87 of the Amended Counterclaims.
 4          88.    The Transfer Agreement does not have an expiration date.
 5          ANSWER: The allegations in Paragraph 88 assert legal conclusions to which no
 6 response is required. To the extent a response is deemed required, the allegations in
 7 Paragraph 88 purport to quote, summarize, or derive from the parties’ Transfer Agreement,
 8 which speaks for itself, and Charter denies any characterization of its contents that is
 9 inconsistent with its text.
10          89.    Among other things, the recitals of the Transfer Agreement state that “TWC
11 [Spectrum] will remain the Licensee and the transaction will not result in any entity having
12 rights inconsistent with the rights obtained by the City in the IRU Agreement or prevent
13 TWC [Spectrum] from performing as promised in the Maintenance Agreement.” See
14 Recitals of the Transfer Agreement.
15          ANSWER: The allegations in Paragraph 89 purport to quote, summarize, or derive
16 from the parties’ Transfer Agreement, which speaks for itself, and Charter denies any
17 characterization of its contents that is inconsistent with its text.
18          90.    The Transfer Agreement further provides that Spectrum “acknowledges that
19 TWC [Spectrum], as part of the resolution of disputes and releases reflected in the [three]
20 2015 Agreements, TWC [Spectrum] agreed that it would not take any offset against License
21 fees for any services, or any facility it may be required to provide under the 2015
22 Agreements. TWC [Spectrum] continues to be bound by those promises, and Charter will
23 cause TWC [Spectrum] to comply with the same. Neither company shall take any action
24 (including but not limited to unilateral offsets) inconsistent with the same.” See Section 2 of
25 the Transfer Agreement.
26          ANSWER: The allegations in Paragraph 90 purport to quote, summarize, or derive
27 from the parties’ Transfer Agreement, which speaks for itself, and Charter denies any
28 characterization of its contents that is inconsistent with its text.

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 1         91.    As a condition of Yuma’s approval of the transfer of control of the franchise
 2 agreement from Time Warner to CCH I, LLC, Yuma required CCH I, LLC to agree to
 3 comply with the IRU Agreement and the IRU Maintenance Agreement. See Paragraph 59 of
 4 Spectrum’s Complaint.
 5         ANSWER: The allegations in Paragraph 91 assert legal conclusions to which no
 6 response is required. To the extent a response is deemed required, the allegations in
 7 Paragraph 91 purport to quote, summarize, or derive from the parties’ Transfer Agreement,
 8 which speaks for itself, and Charter denies any characterization of its contents that is
 9 inconsistent with its text.
10         The Uniform Video Law
11         92.    In 2018, the State of Arizona modified its video service license laws, and
12 implemented a new Uniform Video Law, A.R.S. §§ 9-1401, et seq.
13         ANSWER: The allegations in Paragraph 92 assert legal conclusions to which no
14 response is required. To the extent a response is deemed required, Charter admits the
15 Uniform Franchise Law came into effect in 2018. Except as specifically admitted, Charter
16 denies the allegations in Paragraph 92 of the Amended Counterclaims.
17         93.    Yuma does not concede that Arizona’s Uniform Video Law is valid when
18 applied as Spectrum seeks to apply the statutes in this lawsuit, and continues to reserve all
19 available defenses including but not limited to vested contract rights, property rights, and
20 constitutional defenses with regard to the validity of the statute where the statute conflicts
21 with federal and other state laws.
22         ANSWER: The allegations in Paragraph 93 of the Amended Counterclaims assert
23 legal conclusions to which no response is required. To the extent a response is deemed
24 required, Charter denies the allegations in Paragraph 93 of the Amended Counterclaims.
25         94.    The Uniform Video Law allows an incumbent cable provider to terminate an
26 existing cable license agreement in favor of a uniform license and provides for the
27 mandatory process for submitting an application and affidavit in order to obtain a uniform
28 license. See A.R.S. § 9-1412.

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 1          ANSWER: The allegations in Paragraph 94 assert legal conclusions to which no
 2 response is required. To the extent a response is deemed required, the allegations in
 3 Paragraph 94 purport to quote, summarize, or derive from the Uniform Franchise Law,
 4 which speaks for itself, and Charter denies any characterization of its contents that is
 5 inconsistent with its text.
 6          95.    The Uniform Video Law further provides for uniform enforcement of the Law
 7 by requiring the Office of Administrative Hearings (the “OAH”) to receive complaints
 8 against a local government or a video service provider and comply with the duties imposed
 9 on the OAH by the Uniform Video Law.
10          ANSWER: The allegations in Paragraph 95 of the Amended Counterclaims assert
11 legal conclusions to which no response is required. To the extent a response is deemed
12 required, Charter denies the allegations in Paragraph 95 of the Amended Counterclaims.
13 Answering further, the allegations in Paragraph 95 purport to quote, summarize, or derive
14 from the Uniform Franchise Law, which speaks for itself, and Charter denies any
15 characterization of its contents that is inconsistent with its text.
16          96.    The Uniform Video Law outlines the complaint process and the statute of
17 limitations. See A.R.S. § 9-1451.
18          ANSWER: The allegations in Paragraph 96 of the Amended Counterclaims assert
19 legal conclusions to which no response is required. To the extent a response is deemed
20 required, Charter denies the allegations in Paragraph 96 of the Amended Counterclaims.
21 Answering further, the allegations in Paragraph 96 purport to quote, summarize, or derive
22 from the Uniform Franchise Law, which speaks for itself, and Charter denies any
23 characterization of its contents that is inconsistent with its text.
24          97.    According to the legislative history of the Uniform Video Law, the legislature
25 intended the OAH to have exclusive jurisdiction over complaints under the law.
26          ANSWER: The allegations in Paragraph 97 of the Amended Counterclaims assert
27 legal conclusions to which no response is required. To the extent a response is deemed
28 required, Charter denies the allegations in Paragraph 97 of the Amended Counterclaims.

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 1 Answering further, this Court has already determined the OAH does not have exclusive
 2 jurisdiction over complaints under the Uniform Franchise Law, and that Charter was
 3 “entitled to file this suit without exhausting its administrative remedies.” See Dkt. 68, Order,
 4 at 12.
 5          98.    The House and Senate Fact Sheets regarding the Uniform Video Law
 6 specifically require “the OAH to receive complaints against a local government or a [video
 7 service provider] and comply with the duties imposed on the OAH by VS statutes” and
 8 “[d]esignates OAH as the adjudicative body for complaints and specifies proceeding time
 9 frames” and “[d]eems the OAH order as the final decision with respect to the complaint,
10 subject to superior court appeal.” See SB1140 House and Senate Fact Sheets, a true and
11 correct copy of which are attached and incorporated as Exhibit “1.”
12          ANSWER: The allegations in Paragraph 98 of the Amended Counterclaims assert
13 legal conclusions to which no response is required. To the extent a response is deemed
14 required, Charter denies the allegations in Paragraph 98 of the Amended Counterclaims.
15 Answering further, the allegations in Paragraph 98 purport to quote, summarize, or derive
16 from the documentary evidence and legislative materials, which speak for themselves, and
17 Charter denies any characterization of their contents that is inconsistent with their text. This
18 Court has already determined the OAH does not have exclusive jurisdiction over complaints
19 under the Uniform Franchise Law, and that Charter was “entitled to file this suit without
20 exhausting its administrative remedies.” See Dkt. 68, Order, at 12.
21          99.    In anticipation of the implementation of the new Uniform Video Law,
22 Spectrum mailed a three (3) sentence letter dated December 16, 2019, to Yuma informing
23 Yuma that Spectrum sought to proceed under Arizona’s new Uniform Video Law.
24          ANSWER: Charter admits on December 16, 2019, it notified the City that it intended
25 to terminate its local cable franchise in favor of a uniform video service license effective
26 December 31, 2019. Answering further, the allegations in Paragraph 99 purport to quote,
27 summarize, or derive from the documentary evidence and legislative materials, which speak
28 for themselves, and Charter denies any characterization of their contents that is inconsistent

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 1 with their text. Except as specifically admitted, Charter denies the allegations in Paragraph
 2 99 of the Amended Counterclaims.
 3          100.   The letter was signed by Felipe Monroig, Sr. Director, Government Affairs,
 4 who, upon information and belief is not a principal executive officer or general partner of
 5 Spectrum.
 6          ANSWER: Charter admits its December 16, 2019, letter notifying the City it
 7 intended to terminate its local cable franchise in favor of a uniform video service license was
 8 signed by Felip Monroig, Senior Director, Government Affairs. Answering further, the
 9 allegations in Paragraph 100 purport to summarize, quote, or derive from documentary
10 evidence or electronic sources, which speak for themselves, and Charter denies any
11 characterization of their contents that is inconsistent with their text.
12          101.   There is no provision under the Uniform Video Law for any letter notification.
13          ANSWER: The allegations in Paragraph 101 of the Amended Counterclaims assert
14 legal conclusions to which no response is required. To the extent a response is deemed
15 required, Charter denies the allegations in Paragraph 101 of the Amended Counterclaims.
16 Answering further, the allegations in Paragraph 101 purport to quote, summarize, or derive
17 from the Uniform Franchise Law, which speaks for itself, and Charter denies any
18 characterization of its contents that is inconsistent with its text.
19          102.   Spectrum’s failure to comply with the provisions of the Uniform Video Law,
20 include A.R.S. § 9-1451, which requires the complaint to be filed first with an administrative
21 law judge, and provides for consideration by the courts (specifically, Arizona Superior
22 Court) only after the administrative decision is final. As a result, Spectrum’s lawsuit can
23 seek only an advisory opinion from this Court as to Count I (which contains no alleged cause
24 of action) and Count III (Count II on its face is legally deficient and does not provide for a
25 recognizable federal law claim), a question exclusively of state law which (by statute) is first
26 to be addressed by the administrative law judge, and only after final administrative action
27 may be reviewed de novo by the courts.
28

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 1         ANSWER: The allegations in Paragraph 102 of the Amended Counterclaims assert
 2 legal conclusions to which no response is required. To the extent a response is deemed
 3 required, Charter denies the allegations in Paragraph 102 of the Amended Counterclaims.
 4 This Court has already determined the OAH does not have exclusive jurisdiction over
 5 complaints under the Uniform Franchise Law, and that Charter was “entitled to file this suit
 6 without exhausting its administrative remedies.” See Dkt. 68, Order, at 12.
 7         103.   Spectrum’s December 2019 letter was not a notice under the statute.
 8         ANSWER: The allegations in Paragraph 103 of the Amended Counterclaims assert
 9 legal conclusions to which no response is required. To the extent a response is deemed
10 required, Charter denies the allegations in Paragraph 103.
11         104.   Yuma immediately responded, expressing confusion over the statements in
12 Spectrum’s December 2019 letter and requested a dialog and discussion with Spectrum, as
13 required by the IRU Agreements.
14         ANSWER:        Charter admits the City responded to Charter’s request for the
15 application and affidavit necessary to apply for a uniform video service license, which the
16 City refused to provide. Answering further, the allegations in Paragraph 104 of the
17 Amended Counterclaims assert legal conclusions to which no response is required. To the
18 extent a response is deemed required, Charter denies the allegations in Paragraph 104 of the
19 Amended Counterclaims. Except as specifically admitted, Charter denies the allegations in
20 Paragraph 104 of the Amended Counterclaims.
21         105.   Spectrum never responded to the Yuma’s [sic] December 2019
22 correspondence seeking a dialog and discussion with Spectrum.
23         ANSWER:       Charter denies the allegations in Paragraph 105 of the Amended
24 Counterclaims.
25         106.   Instead, Spectrum, without any notice filed this action alleging a breach of the
26 Uniform Video Law by Yuma when in fact Spectrum never took the required steps under
27 the statutes before a lawsuit may be filed.
28

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 1          ANSWER: The allegations in Paragraph 106 of the Amended Counterclaims assert
 2 legal conclusions to which no response is required. To the extent a response is deemed
 3 required, Charter denies the allegations in Paragraph 106 of the Amended Counterclaims.
 4          107.   Under the Uniform Video Law, Spectrum was required to “file with the clerk
 5 of the local government an application and affidavit that are signed by one of the principal
 6 executive officers or general partners of the applicant.” See A.R.S. § 9-1451.
 7          ANSWER: The allegations in Paragraph 107 of the Amended Counterclaims assert
 8 legal conclusions to which no response is required. To the extent a response is deemed
 9 required, Charter denies the allegations in Paragraph 107 of the Amended Counterclaims.
10 Answering further, the allegations in Paragraph 107 purport to quote, summarize, or derive
11 from the Uniform Franchise Law, which speaks for itself, and Charter denies any
12 characterization of its contents that is inconsistent with its text.
13          108.   Under the Uniform Video Law, Yuma could not issue a Uniform License
14 without the required application and affidavit.
15          ANSWER: The allegations in Paragraph 108 of the Amended Counterclaims assert
16 legal conclusions to which no response is required. To the extent a response is deemed
17 required, Charter denies the allegations in Paragraph 108 of the Amended Counterclaims.
18 Answering further, the allegations in Paragraph 108 purport to quote, summarize, or derive
19 from the Uniform Franchise Law, which speaks for itself, and Charter denies any
20 characterization of its contents that is inconsistent with its text.
21          109.   Notwithstanding the fact that Spectrum filed this lawsuit on June 17, 2020,
22 alleging Yuma was in violation of the Uniform Video Law for failing to issue Spectrum a
23 Uniform License, Spectrum filed its application with Yuma for the Uniform Video Service
24 License on June 30, 2020.
25          ANSWER: The allegations in Paragraph 109 of the Amended Counterclaims assert
26 legal conclusions to which no response is required. To the extent a response is deemed
27 required, Charter denies the allegations in Paragraph 109 of the Amended Counterclaims.
28 Answering further, the allegations purport to summarize, quote, or derive from documentary

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 1 evidence or electronic sources, which speak for themselves, and Charter denies any
 2 characterization of their contents that is inconsistent with their text. Except as specifically
 3 admitted, Charter denies the allegations in Paragraph 109 of the Amended Counterclaims.
 4           110.   A true and correct copy of the Uniform Video Service License Application
 5 and Affidavit is attached and incorporated as Exhibit “2.”
 6           ANSWER: Charter admits the City’s Exhibit 2 to the Amended Counterclaims
 7 appears to be a copy of the application and affidavit that Charter submitted to the City.
 8 Except as specifically admitted, Charter denies the allegations in Paragraph 110 of the
 9 Amended Counterclaims.
10           111.   Under the Uniform Video Law, upon receipt of the Application, Yuma had
11 forty-five (45) days to issue a uniform license. In compliance with the Uniform Video Law,
12 Yuma issued the Uniform License to Spectrum on August 13, 2020. A true and correct copy
13 of the Uniform License is attached hereto as Exhibit “3” and incorporated herein.
14           ANSWER: Charter admits the City’s Exhibit 3 to the Amended Counterclaims
15 appears to be a copy of Charter’s uniform video service license from the City, dated August
16 13, 2020. The remaining allegations in Paragraph 111 of the Amended Counterclaims assert
17 legal conclusions to which no response is required. To the extent a response is deemed
18 required, Charter denies the allegations in Paragraph 111. Except as specifically admitted,
19 Charter denies the allegations in Paragraph 111 of the Amended Counterclaims.
20                                         COUNT ONE
21                                      (Breach of Contract)

22           112.   Yuma re-alleges and incorporates by reference the allegations and statements
23 set forth in Paragraphs 1 through 111 of its Amended Counterclaim as if fully set forth
24 herein.
25           ANSWER:       Charter re-affirms and incorporates by reference its answers to
26 Paragraphs 1 through 111 of this Answer in response to Paragraph 112 of the Amended
27 Counterclaims.
28

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 1         113.   As detailed herein, Yuma and Spectrum entered into the IRU Agreement, the
 2 IRU Maintenance Agreement, the 2015 License and the Transfer Agreement (collectively
 3 the “2015 Agreements”).
 4         ANSWER:       Charter admits that the City and Charter are parties to the IRU
 5 Agreement, the IRU Maintenance Agreement, the City Franchise, and the Transfer
 6 Agreement with the City. Except as specifically admitted, Charter denies the allegations in
 7 Paragraph 113 of the Amended Counterclaims.
 8         114.   Spectrum is bound by the terms and conditions of the 2015 Agreements.
 9         ANSWER: The allegations in Paragraph 114 of the Amended Counterclaims assert
10 legal conclusions to which no response is required. To the extent a response is deemed
11 required, Charter denies the allegations in Paragraph 114 of the Amended Counterclaims.
12         115.   By their terms, the IRU Agreement and IRU Maintenance Agreement are not
13 elements of the 2015 License or subject to the Uniform Video Law, but are separate and
14 distinct agreements for the construction and use of the City Fibers.
15         ANSWER: The allegations in Paragraph 115 of the Amended Counterclaims assert
16 legal conclusions to which no response is required. To the extent a response is deemed
17 required, Charter denies the allegations in Paragraph 115 of the Amended Counterclaims.
18         116.   The IRU Agreements are fully-integrated and separate contracts that may be
19 amended only in writing.
20         ANSWER: The allegations in Paragraph 116 of the Amended Counterclaims assert
21 legal conclusions to which no response is required. To the extent a response is deemed
22 required, Charter denies the allegations in Paragraph 116 of the Amended Counterclaims.
23         117.   No such amendment to the IRU Agreements exists.
24         ANSWER: The allegations in Paragraph 117 of the Amended Counterclaims assert
25 legal conclusions to which no response is required. To the extent a response is deemed
26 required, Charter denies the allegations in Paragraph 117 of the Amended Counterclaims.
27         118.   The IRU Agreements grant Yuma property rights to, and undisturbed use of,
28 the City Fibers.

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 1         ANSWER: The allegations in Paragraph 118 of the Amended Counterclaims assert
 2 legal conclusions to which no response is required. To the extent a response is deemed
 3 required, Charter denies the allegations in Paragraph 118 of the Amended Counterclaims.
 4         119.   The 2015 License authorized Spectrum to construct and operate a cable
 5 system, whereas the IRU Agreement and IRU Maintenance Agreement provided for a
 6 separate, private government fiber network for Yuma’s exclusive use.
 7         ANSWER: The allegations in Paragraph 119 of the Amended Counterclaims assert
 8 legal conclusions to which no response is required. To the extent a response is deemed
 9 required, Charter denies the allegations in Paragraph 119 of the Amended Counterclaims.
10         120.   The construction and installation of the City Fibers installed under the IRU
11 Agreement and IRU Maintenance Agreement were paid for by Yuma separate and apart
12 from any of Spectrum’s obligations under the 2015 License.
13         ANSWER: The allegations in Paragraph 120 of the Amended Counterclaims assert
14 legal conclusions to which no response is required. To the extent a response is deemed
15 required, Charter denies the allegations in Paragraph 120 of the Amended Counterclaims.
16         121.   Yuma has performed all of its obligations under the 2015 Agreements.
17         ANSWER: The allegations in Paragraph 121 assert legal conclusions to which no
18 response is required. To the extent a response is deemed required, Charter denies the
19 allegations in Paragraph 121 of the Amended Counterclaims.
20         122.   In breach of the various 2015 Agreements, Spectrum filed suit to invalidate
21 the IRU Agreement and the IRU Maintenance Agreement and terminate Yuma’s ability to
22 use the City Fibers under the terms of those Agreements.
23         ANSWER: The allegations in Paragraph 122 assert legal conclusions to which no
24 response is required. To the extent a response is deemed required, Charter denies the
25 allegations in Paragraph 122 of the Amended Counterclaims.
26         123.   As stated herein, Spectrum never responded to Yuma’s December 2019
27 correspondence seeking a dialog and discussion with Spectrum.
28

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 1          ANSWER:        Charter denies the allegations in Paragraph 123 of the Amended
 2 Counterclaims.
 3          124.   Spectrum has failed to act in good faith under the IRU Agreement and IRU
 4 Maintenance Agreement and failed to fulfill its obligations thereunder.
 5          ANSWER: The allegations in Paragraph 124 assert legal conclusions to which no
 6 response is required. To the extent a response is deemed required, Charter denies the
 7 allegations in Paragraph 124 of the Amended Counterclaims.
 8          125.   Spectrum filed suit without any notice, discussion or negotiations with Yuma
 9 and even filed suit prior to submitting its application for the Uniform Video Service License.
10          ANSWER:        Charter denies the allegations in Paragraph 125 of the Amended
11 Counterclaims.
12          126.   Yuma gave valuable consideration in return for the property rights it obtained
13 in the IRU Agreement; and has paid and continues to pay agreed amounts for the
14 construction work and maintenance performed under the IRU Maintenance Agreement.
15          ANSWER: The allegations in Paragraph 126 of the Amended Counterclaims assert
16 legal conclusions to which no response is required. To the extent a response is deemed
17 required, Charter denies the allegations in Paragraph 126 of the Amended Counterclaims.
18          127.   The IRU Agreement granted Yuma “an indefeasible right of use (“IRU”) to
19 use the City Fibers during the Term” of the Agreement, which Term does not expire until
20 January 31, 2035, and further provided Yuma with the “exclusive and irrevocable right to
21 use the [City Fibers] during the Term . . . [and that Spectrum] may take no action with respect
22 to the City Fibers that would prevent its continued use by [Yuma], or otherwise adversely
23 affect the rights of [Yuma] granted herein.” See Section 1.1 of the IRU Agreement.
24          ANSWER: The allegations in Paragraph 127 of the Amended Counterclaims assert
25 legal conclusions to which no response is required. To the extent a response is deemed
26 required, the allegations in Paragraph 127 purport to quote, summarize, or derive from the
27 parties’ IRU Agreement, which speaks for itself, and Charter denies any characterization of
28 its contents that is inconsistent with its text.

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 1          128.   Even if Arizona’s new Uniform Video Law entitles Spectrum to void the IRU
 2 Agreements and IRU Maintenance Agreement, the IRU Agreement requires Spectrum to
 3 negotiate in good faith any modifications thereto in light of such regulatory changes. See
 4 Section 5 of the IRU Agreement.
 5          ANSWER: The allegations in Paragraph 128 of the Amended Counterclaims assert
 6 legal conclusions to which no response is required. To the extent a response is deemed
 7 required, Charter denies the allegations in Paragraph 128 of the Amended Counterclaims.
 8 Answering further, the allegations in Paragraph 128 purport to quote, summarize, or derive
 9 from the parties’ IRU Agreement, which speaks for itself, and Charter denies any
10 characterization of its contents that is inconsistent with its text.
11          129.   Spectrum did not engage in any good faith discussions with Yuma prior to
12 filing its Complaint and has thus breached its duties and obligations under the IRU
13 Agreement.
14          ANSWER: The allegations in Paragraph 129 of the Amended Counterclaims assert
15 legal conclusions to which no response is required. To the extent a response is deemed
16 required, Charter denies the allegations in Paragraph 129 of the Amended Counterclaims.
17          130.   Spectrum, acting in bad faith, filed suit against Yuma alleging Yuma was
18 violating the Uniform Video Law by failing to issue Spectrum a Uniform License, even
19 though Spectrum had not submitted the statutorily required Application and Affidavit
20 necessary for the issuance of a uniform license.
21          ANSWER: The allegations in Paragraph 130 of the Amended Counterclaims assert
22 legal conclusions to which no response is required. To the extent a response is deemed
23 required, Charter denies the allegations in Paragraph 130 of the Amended Counterclaims.
24          131.   Spectrum only submitted the required Application and Affidavit weeks after
25 filing suit.
26          ANSWER:        Charter denies the allegations in Paragraph 131 of the Amended
27 Counterclaims.
28

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 1          132.   Spectrum’s actions in filing suit without notice and prior to submitting the
 2 required Application and Affidavit demonstrate Spectrum’s bad faith and determination to
 3 void the IRU Agreements at all costs.
 4          ANSWER:        Charter denies the allegations in Paragraph 132 of the Amended
 5 Counterclaims.
 6          133.   In compliance with the Uniform Video Law, Yuma timely approved and
 7 issued the Uniform License, which has replaced the 2015 License.
 8          ANSWER: The allegations in Paragraph 133 of the Amended Counterclaims assert
 9 legal conclusions to which no response is required. Charter admits a uniform license
10 replaced its 2015 License with the City. To the extent a response is deemed required, Charter
11 denies the allegations in Paragraph 133 of the Amended Counterclaims.
12          134.   Under the IRU Maintenance Agreement, Spectrum agreed to not “take any
13 action, or require the other party to take any action that causes it to be unable to satisfy the
14 performance requirements of this Agreement.” See Section 7(d) of the IRU Maintenance
15 Agreement.
16          ANSWER: The allegations in Paragraph 134 assert legal conclusions to which no
17 response is required. To the extent a response is deemed required, the allegations in
18 Paragraph 134 purport to quote, summarize, or derive from the parties’ IRU Maintenance
19 Agreement, which speaks for itself, and Charter denies any characterization of its contents
20 that is inconsistent with its text.
21          135.   Spectrum has breached the IRU Maintenance Agreement as Spectrum is
22 seeking to void and terminate the performance of the IRU Agreements, which is an action
23 to cause Yuma to be unable to obtain the continued benefits of the Agreements and a loss of
24 Yuma’s right to quiet enjoyment.
25          ANSWER: The allegations in Paragraph 135 assert legal conclusions to which no
26 response is required. To the extent a response is deemed required, Charter denies the
27 allegations in Paragraph 135 of the Amended Counterclaims.
28

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 1          136.   The IRU Maintenance Agreement further states that the Agreement shall be
 2 deemed a construction service, and not be deemed a service under the provisions of
 3 telecommunications services or a common carrier offering by Spectrum and that in the event
 4 the IRU Maintenance Agreement were deemed to constitute the provisions of such a
 5 telecommunications services or common carrier offering that Spectrum would cooperate in
 6 good faith to amend the Agreement so it would not constitute such a service or offering. See
 7 Section 7(e) of the IRU Maintenance Agreement.
 8          ANSWER: The allegations in Paragraph 136 assert legal conclusions to which no
 9 response is required. To the extent a response is deemed required, Charter denies the
10 allegations in Paragraph 136 of the Amended Counterclaims. Answering further, the
11 allegations in Paragraph 136 purport to quote, summarize, or derive from the parties’ IRU
12 Maintenance Agreement, which speaks for itself, and Charter denies any characterization of
13 its contents that is inconsistent with its text.
14          137.   Spectrum did not engage in any attempt to cooperate with Yuma prior to filing
15 its Complaint and has thus breached its duties and obligations under the IRU Maintenance
16 Agreement as Spectrum now seeks to have the IRU Maintenance Agreement deemed part
17 of its License under the Uniform Video Law.
18          ANSWER: The allegations in Paragraph 137 assert legal conclusions to which no
19 response is required. To the extent a response is deemed required, Charter denies the
20 allegations in Paragraph 137 of the Amended Counterclaims.
21          138.   Under the Transfer Agreement, Spectrum agreed not to take any action
22 inconsistent with the terms and conditions of the IRU Agreement and the IRU Maintenance
23 Agreement.
24          ANSWER: The allegations in Paragraph 138 assert legal conclusions to which no
25 response is required. To the extent a response is deemed required, Charter denies the
26 allegations in Paragraph 138 of the Amended Counterclaims. Answering further, the
27 allegations in Paragraph 138 purport to quote, summarize, or derive from the parties’ various
28

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 1 agreements, which speak for themselves, and Charter denies any characterization of their
 2 contents that are inconsistent with their text.
 3         139.   Spectrum has sought to invalidate all of the provisions of the IRU Agreements,
 4 which action is a violation of the Transfer Agreement.
 5         ANSWER: The allegations in Paragraph 139 assert legal conclusions to which no
 6 response is required. To the extent a response is deemed required, Charter denies the
 7 allegations in Paragraph 139 of the Amended Counterclaims.
 8         140.   Spectrum has breached its duties and obligations under the Transfer
 9 Agreement as it has taken actions inconsistent with and in direct violation of the terms and
10 conditions of the IRU Agreement and IRU Maintenance Agreement.
11         ANSWER: The allegations in Paragraph 140 assert legal conclusions to which no
12 response is required. To the extent a response is deemed required, Charter denies the
13 allegations in Paragraph 140 of the Amended Counterclaims.
14         141.   Spectrum’s actions have forced Yuma to seek alternative sources for its critical
15 communications infrastructure, which alternatives which, upon information and belief, will
16 cost Yuma in excess of $2 million dollars, damages for which Spectrum is liable.
17         ANSWER: The allegations in Paragraph 141 assert legal conclusions to which no
18 response is required. To the extent a response is deemed required, Charter denies the
19 allegations in Paragraph 141 of the Amended Counterclaims.
20         142.   Upon information and belief, Spectrum breached the 2015 Agreements in
21 other particulars, which are now unknown to Yuma, but for which Spectrum is liable to
22 Yuma. As Yuma discovers these additional breaches, it will promptly disclose.
23         ANSWER: The allegations in Paragraph 142 assert legal conclusions to which no
24 response is required. To the extent a response is deemed required, Charter denies the
25 allegations in Paragraph 142 of the Amended Counterclaims.
26         143.   As a direct and proximate result of Spectrum’s multiple breaches of the
27 various 2015 Agreements, Yuma has suffered and will suffer damages in an amount to be
28 proven at trial, together with interest at the maximum legal rates allowed according to proof.

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 1           ANSWER: The allegations in Paragraph 143 assert legal conclusions to which no
 2 response is required. To the extent a response is deemed required, Charter denies the
 3 allegations in Paragraph 143 of the Amended Counterclaims.
 4           144.   Yuma has retained the undersigned attorneys and will incur costs and fees in
 5 pursuit of its rightful interests in this matter and is entitled to recover its reasonable
 6 attorneys’ fees pursuant to A.R.S. § 12-341.01 because this action constitutes a matter
 7 arising out of a contract.
 8           ANSWER: The allegations in Paragraph 144 assert legal conclusions to which no
 9 response is required. To the extent a response is deemed required, Charter denies the
10 allegations in Paragraph 144 of the Amended Counterclaims.
11                                       COUNT TWO
                     (Breach of the Covenant of Good Faith and Fair Dealing
12                           and the Covenant of Quiet Enjoyment)
13           145.   Yuma re-alleges and incorporates by reference the allegations and statements
14 set forth in Paragraphs 1 through 144 of its Amended Counterclaim as if fully set forth
15 herein.
16           ANSWER: Charter denies the allegations in Paragraph 145 of the City’s Amended
17 Counterclaims. Count Two of the Counterclaims was dismissed. To the extent a response
18 is required, Charter re-affirms and incorporates by reference its answers to Paragraphs 1
19 through 144 of this Answer in response to Paragraph 145 of the Amended Counterclaims.
20           146.   In every written contract, including the various 2015 Agreements herein at
21 issue, there is an implied covenant of good faith and fair dealing by each party.
22           ANSWER: Charter denies the allegations in Paragraph 146 of the City’s Amended
23 Counterclaims. Count Two of the Amended Counterclaims was dismissed.
24           147.   The covenant of good faith and fair dealing imposes reciprocal duties on each
25 party to the contract to refrain from doing anything that would deprive the other party(s) of
26 the benefits of the contract.
27           ANSWER: Charter denies the allegations in Paragraph 147 of the City’s Amended
28 Counterclaims. Count Two of the Amended Counterclaims was dismissed.

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 1          148.   There was an implied and stated covenant in the IRU Agreement and the IRU
 2 Maintenance Agreement that the parties would negotiate in good faith concerning any
 3 regulatory changes that might impact the Agreements.
 4          ANSWER: Charter denies the allegations in Paragraph 148 of the City’s Amended
 5 Counterclaims. Count Two of the Amended Counterclaims was dismissed.
 6          149.   Spectrum’s actions have frustrated Yuma’s reasonable expectations under the
 7 IRU Agreements.
 8          ANSWER: Charter denies the allegations in Paragraph 149 of the City’s Amended
 9 Counterclaims. Count Two of the Amended Counterclaims was dismissed.
10          150.   Spectrum has acted in bad faith and in violation of the implied covenant of
11 quiet enjoyment.
12          ANSWER: Charter denies the allegations in Paragraph 150 of the City’s Amended
13 Counterclaims. Count Two of the Amended Counterclaims was dismissed.
14          151.   Spectrum’s failure or refusal to honor its contractual responsibilities was the
15 result of a deliberate act, rather than an honest mistake, poor judgment or negligence.
16          ANSWER: Charter denies the allegations in Paragraph 151 of the City’s Amended
17 Counterclaims. Count Two of the Amended Counterclaims was dismissed.
18          152.   As a direct and proximate result of Spectrum’s breaches of the covenant of
19 good faith and fair dealing that exists in every contract, Yuma has suffered and will suffer
20 damages in an amount to be proven at trial, together with interest at the maximum legal rates
21 allowed according to proof.
22          ANSWER: Charter denies the allegations in Paragraph 152 the City’s Amended
23 Counterclaims. Count Two of the Amended Counterclaims was dismissed.
24          153.   Yuma has retained the undersigned attorneys and will incur other expenses in
25 pursuit of its rightful interests in this matter and is, therefore, entitled to compensation of its
26 attorneys’ fees and costs.
27          ANSWER: Charter denies the allegations in Paragraph 153 of the City’s Amended
28 Counterclaims. Count Two of the Amended Counterclaims was dismissed.

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 1                                         COUNT THREE
                                         (Unjust Enrichment)
 2
 3           154.   Yuma re-alleges and incorporates by reference the allegations and statements
 4 set forth in Paragraphs 1 through 154 of its Amended Counterclaim as if fully set forth
 5 herein.
 6           ANSWER: Charter denies the allegations in Paragraph 154 of the City’s Amended
 7 Counterclaims. Count Three of the Counterclaims was dismissed. To the extent a response
 8 is required, Charter re-affirms and incorporates by reference its answers to Paragraphs 1
 9 through 153 of this Answer in response to Paragraph 154 of the Amended Counterclaims.
10           155.   Unjust enrichment is an alternative to Yuma’s breach of contract claims as a
11 party is not prevented from asserting an equitable cause of action merely because the party
12 also alleges an adequate legal remedy.
13           ANSWER: Charter denies the allegations in Paragraph 155 of the City’s Amended
14 Counterclaims. Count Three of the Amended Counterclaims was dismissed.
15           156.   The value of the City Fibers, the construction and installation of which was
16 fully paid for by Yuma, including the release of claims associated therewith, has conferred
17 enrichment upon Spectrum beyond that which the parties contemplated at the time.
18           ANSWER: Charter denies the allegations in Paragraph 156 of the City’s Amended
19 Counterclaims. Count Three of the Amended Counterclaims was dismissed.
20           157.   Spectrum has received the benefits of the City Fibers and the release of claims,
21 at the expense of Yuma.
22           ANSWER: Charter denies the allegations in Paragraph 157 of the City’s Amended
23 Counterclaims. Count Three of the Amended Counterclaims was dismissed.
24           158.   There is no justification for Yuma to bear the cost of the construction,
25 installation and maintenance of the City Fibers and associated value of the release of claims,
26 to then have Spectrum terminate Yuma’s use of those Fibers.
27           ANSWER: Charter denies the allegations in Paragraph 158 of the City’s Amended
28 Counterclaims. Count Three of the Amended Counterclaims was dismissed.

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 1          159.   Additionally, Spectrum seeks to charge Yuma substantially more for the use
 2 of the same City Fibers, depriving Yuma of the use of its property right, and forcing Yuma
 3 into some alternative “business arrangement” alleged in Spectrum’s Complaint, causing
 4 additional enrichment to Spectrum and impoverishment to Yuma without any justification.
 5          ANSWER: Charter denies the allegations in Paragraph 159 of the City’s Amended
 6 Counterclaims. Count Three of the Amended Counterclaims was dismissed.
 7          160.   As a direct and proximate result of Spectrum’s unjust enrichment, Yuma has
 8 suffered and will suffer damages in an amount to be proven at trial, together with interest at
 9 the maximum legal rates allowed according to proof.
10          ANSWER: Charter denies the allegations in Paragraph 160 of the City’s Amended
11 Counterclaims. Count Three of the Amended Counterclaims was dismissed.
12                                     REQUESTED RELIEF
13          A.     Charter denies the allegations of Paragraph A of the City’s Requested Relief.
14 Charter denies the City is entitled to any relief, including any damages.
15          B.     Charter denies the allegations of Paragraph B of the City’s Requested Relief.
16 Charter denies the City is entitled to any relief, including pre- or post-judgment interest.
17          C.     Charter denies the allegations of Paragraph C of the City’s Requested Relief.
18 Charter denies the City is entitled to any relief, including its attorneys’ fees.
19          D.     Charter denies the allegations of Paragraph D of the City’s Requested Relief.
20 Charter denies the City is entitled to any relief, including its costs.
21          E.     Charter denies the allegations of Paragraph E of the City’s Requested Relief.
22 Charter denies the City is entitled to any relief.
23                                      GENERAL DENIAL
24          Charter denies all allegations in the Amended Counterclaims that are not specifically
25 admitted or denied above.
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 1                                  DENIAL OF HEADINGS
 2         Charter has restated in this Answer the headings as they appear in the Amended
 3 Counterclaims. To the extent the headings purport to assert any factual allegations or legal
 4 conclusions, they are denied in their entirety.
 5                        CHARTER’S AFFIRMATIVE DEFENSES
 6                             FIRST AFFIRMATIVE DEFENSE
 7         All actions of Charter in this matter were taken in good faith and for legitimate
 8 purposes.
 9                           SECOND AFFIRMATIVE DEFENSE
10         The City’s counterclaim is barred because Defendant brings its counterclaim with
11 unclean hands.
12                            THIRD AFFIRMATIVE DEFENSE
13         The City’s counterclaim is barred because the City has suffered no actual harm or
14 damages.
15                           FOURTH AFFIRMATIVE DEFENSE
16         The City’s counterclaim is barred by the doctrines of waiver, estoppel, and/or laches.
17                             FIFTH AFFIRMATIVE DEFENSE
18         The City’s counterclaim is barred because any damages award would unjustly enrich
19 the City.
20                             SIXTH AFFIRMATIVE DEFENSE
21         The City’s counterclaim is barred by its failure to mitigate any purported damages it
22 claims it may have or will suffer.
23                           SEVENTH AFFIRMATIVE DEFENSE
24         The City’s counterclaim should be dismissed because it fails to state a claim upon
25 which relief may be granted.
26                            EIGHTH AFFIRMATIVE DEFENSE
27         The City’s counterclaim is barred because it is preempted by Arizona and federal law.
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1                                *             *             *
2        Charter reserves the right to amend this Answer and raise additional affirmative
3 defenses should Charter discover facts that would enable it to raise such additional
4 affirmative defenses.
5                                    PRAYER FOR RELIEF
6        Charter prays for judgment as follows:
7        1.     For judgment in favor of Charter on Count One of the Amended
8 Counterclaims against Defendant-Counterclaimant;
9        2.     For an award of attorneys’ fees and costs; and
10       3.     Such other and further relief as this Court may deem just and proper.
11
12
         RESPECTFULLY SUBMITTED this 23rd day of August, 2022.
13
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14                                          Renaissance One
                                            Two North Central Avenue
15                                          Phoenix, AZ 85004-2391
16                                          By /s/ Lauren E. Stine
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17                                             Lauren E. Stine
18
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19                                          HAMPTON LLP
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22
                                            Attorneys for Plaintiff Spectrum Pacific West
23                                          LLC

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1                               CERTIFICATE OF SERVICE
2          I hereby certify that on the 23rd day of August, 2022, I electronically filed the
3 foregoing document with the Clerk’s office using the CM/ECF System for filing and
4 transmittal of a Notice of Electronic Filing to all ECF registrants in the case, including
5 counsel of record:
6
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15
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17                                             /s/ Debra L. Hitchens
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